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                             Falk Oral and Facial Surgery PLLC
                        7
                                                            UNITED STATES DISTRICT COURT
                        8
                                                                 DISTRICT OF NEVADA
                        9
                       10     FALK ORAL AND FACIAL SURGERY                        Case No.: 2:21-cv-1464-JCM-DJA
                              PLLC d/b/a CANYON ORAL AND FACIAL
                       11     SURGERY, a Nevada professional limited              STIPULATION AND ORDER TO
                              liability company,                                  EXTEND (1) PLAINTIFF’S DEADLINE
                       12                                                         TO FILE RESPONSIVE PLEADING,
                                 Plaintiff,                                       AND (2) PARTIES’ DEADLINE TO
                       13                                                         FILE PROPOSED DISCOVERY PLAN
                                         v.                                       AND PROPOSED SCHEDULING
                       14                                                         ORDER
                              SUDHEER J. SURPURE, MD, DDS, INC.
                       15     d/b/a GRAND CANYON ORAL & FACIAL                    [FIRST REQUEST]
                              SURGERY, a Nevada corporation,
                       16
                                               Defendant.
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                       18           Pursuant to LR IA 6-1, Plaintiff Falk Oral and Facial Surgery PLL d/b/a Canyon Oral and
                       19    Facial Surgery (“Plaintiff”) and Defendant Sudheer J. Surpure, MD, DDS, Inc., d/b/a Grand
                       20    Canyon Oral & Facial Surgery (“Defendant”, together with Plaintiff “Parties”) submit the
                       21    following Stipulation to Extend Time to file (1) Plaintiff’s Responsive Pleading up to and
                       22    including October 25, 2021, and (2) Parties’ Proposed Discovery Plan and Proposed Scheduling
                       23    Order. In support of the Stipulation, the Parties state the following:
                       24           1.        Plaintiff’s responsive pleading is currently due September 24, 2021.
                       25           2.        The Parties engaged in the Rule 26(f) conference on September 15, 2021. Their
                       26                     Joint Proposed Discovery Plan and Scheduling Order is currently due September
                       27                     29, 2021.
                       28                                                     1
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                        1           2.      The Parties are in active settlement discussions and thus wish to extend upcoming

                        2    deadlines.

                        3           3.      This is the first request to extend the deadline for Plaintiff to file its responsive

                        4    pleading, and for the Parties to file their Joint Proposed Discovery Plan and Scheduling Order.

                        5           4.      This request for an extension of time is not intended to cause any undue delay or

                        6    prejudice any party.

                        7           5.      Therefore, the Parties hereby stipulate that the deadline for Plaintiff to file its

                        8    responsive pleading shall be extended to October 25, 2021.

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                        1           6.      The Parties further stipulate that the deadline for the Parties to file their Joint

                        2    Proposed Discovery Plan and Scheduling Order shall be extended to October 29, 2021.

                        3

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                        5
                               /s/ F. Christopher Austin                         /s/ Robert J. Itri
                        6
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                        7      Jing Zhao (NSB 11487)                             Pro Hac Vice Pending)
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                       10
                               Attorneys for Plaintiff
                       11
                               Dated September 24, 2021                          Dated September 24, 2021
                       12
                                                                                 SKLAR WILLIAMS PLLC
                       13

                       14
                                                                                 /s/ Nadia Janjua Ahmed
                       15                                                        Nadia Janjua Ahmed (NSB # 15489)
                                                                                 nahmed@sklar-law.com
                       16
                                                                                 Attorney for Defendant
                       17
                                                                                 Dated September 24, 2021
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                                                                  IT IS SO ORDERED:
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                                                                  _______________________________________________
                       22                                         UNITED STATES MAGISTRATE JUDGE

                       23                                                September 28, 2021
                                                                  DATED:_______________________________________
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